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                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                            Crim. No. 18-CR-32-2 (DLF)

 CONCORD MANAGEMENT AND
 CONSULTING LLC,
                                             FILED EX PARTE AND UNDER SEAL
                Defendant.



           GOVERNMENT’S MOTION TO SEAL AND TO PROCEED EX PARTE

       The United States of America, by and through undersigned counsel, respectfully requests

that the Court permit the government to file ex parte and under seal a notice regarding a

superseding indictment as well as this motion. In support of its position, the government states as

follows.

       The Court has the inherent power to seal court filings when appropriate. United States v.

Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing Nixon v. Warner Communications, Inc.,

435 U.S. 589, 598 (1978)). Such sealing is within the discretion of the Court. See Nixon, 435

U.S. at 598 (common-law right to inspect and copy judicial records is not absolute, and the

decision whether to permit access is best left to the sound discretion of the trial court in the light

of the relevant facts and circumstances of the particular case).

       While there is a “strong presumption in favor of public access to judicial proceedings,”

Johnson v. Greater SE Cmty. Hosp. Corp., 951 F.2d 1268, 1277 (D.C. Cir. 1991), that

presumption is not absolute. The D.C. Circuit has recognized that “a district court can ensure

that [grand jury] secrecy is protected by provisions for sealed, or when necessary ex parte,

filings.” In re Grand Jury Subpoena, Judith Miller, 438 F.3d 1141, 1150 (quoting In re Grand

Jury, 121 F.3d 729, 757 (D.C. Cir. 1997) (alteration in original)). “Indeed, the rule of grand jury
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secrecy is so well established that we have noted that ‘[t]here is a plethora of authority

recognizing that the grand jury context presents an unusual setting where privacy and secrecy are

the norm.’” Id. (quoting In re Sealed Case, 199 F.3d 522, 526 (D.C. Cir. 2000)). Here, the

notice discusses the government’s intention to open a matter in the grand jury for the purpose of

seeking a superseding indictment in this case. That is a “matter occurring before the grand jury”

subject to the secrecy provisions of Federal Rule of Criminal Procedure 6(e). Accordingly, filing

the notice under seal and ex parte is appropriate under the authorities cited above.



                                       Respectfully submitted,


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